                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

MAGGI QUILLEN,                                       )
                                                     )
        Plaintiff,                                   )     Civil Action No. 3:12-CV-01194
                                                     )
v.                                                   )     JUDGE TRAUGER
                                                     )     MAGISTRATE JUDGE BROWN
TOUCHSTONE MEDICAL IMAGING,                          )
LLC,                                                 )     JURY DEMAND
                                                     )
        Defendant.                                   )


                     AGREED ORDER OF DISMISSAL WITH PREJUDICE

        It appears to the Court, as evidenced by the signatures of counsel below, that all matters

in dispute among the parties have been resolved and that Plaintiff’s Complaint should be

dismissed. Accordingly, this case is dismissed with prejudice.

        It is so ORDERED.

                                              ________________________________________
                                              Judge Aleta A. Trauger

APPROVED FOR ENTRY:

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